           Case 1:14-vv-00882-UNJ Document 28 Filed 05/22/15 Page 1 of 7




        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-882V
                                       Filed: April 29, 2015
                                           Unpublished

****************************
KIRSTIN POMA,                            *
                                         *
                     Petitioner,         *      Joint Stipulation on Damages;
                                         *      Tetanus, Diptheria, acellular Pertussis;
                                         *      Tdap; Guillain-Barré Syndrome; GBS;
SECRETARY OF HEALTH                      *      Special Processing Unit;
AND HUMAN SERVICES,                      *
                                         *
                     Respondent.         *
                                         *
****************************
Lawrence Cohan, Esq., Anapol, Schwartz, et al., Philadelphia, PA, for petitioner.
Camille Collett, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION1

Vowell, Chief Special Master:

      On September 22, 2014, Kirstin Poma filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered Guillain-Barré
syndrome (GBS) caused by the tetanus, diphtheria, acellular pertussis (Tdap) vaccine
she received on December 11, 2012.3 Respondent denies that Tdap vaccination
caused petitioner’s GBS or any other injury. Stipulation, ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).

3Petition at 1. Although the petition indicated the vaccine was administered on December 11, 2012, the
medical records indicate the correct date is December 6, 2012. Compare Petition at 1 with Petitioner’s
Exhibit 2, p. 8. In the stipulation filed by the parties, they indicated the vaccine was received on or about
December 6, 2012. Stipulation, filed Apr. 28, 2015, ¶ 2.
          Case 1:14-vv-00882-UNJ Document 28 Filed 05/22/15 Page 2 of 7



       Nevertheless, the parties have agreed to settle the case. Stipulation, ¶ 7. On
April 28, 2015, the parties filed a joint stipulation agreeing to settle this case and
describing the settlement terms.

       Respondent agrees to pay petitioner a lump sum of $110,000.00 in the form of a
check payable to petitioner. Stipulation, ¶ 8. This amount represents compensation for
all damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

      I adopt the parties’ stipulation attached hereto, and award compensation in the
amount and on the terms set forth therein. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment in
accordance with this decision.4

                                        s/Denise K. Vowell
                                        Denise K. Vowell
                                        Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
                                                      2
Case 1:14-vv-00882-UNJ Document 28 Filed 05/22/15 Page 3 of 7
Case 1:14-vv-00882-UNJ Document 28 Filed 05/22/15 Page 4 of 7
Case 1:14-vv-00882-UNJ Document 28 Filed 05/22/15 Page 5 of 7
Case 1:14-vv-00882-UNJ Document 28 Filed 05/22/15 Page 6 of 7
Case 1:14-vv-00882-UNJ Document 28 Filed 05/22/15 Page 7 of 7
